Case 1:22-cv-00453-JJM-PAS   Document 116        Filed 01/16/24   Page 1 of 26 PageID #:
                                     1243



                      UNITED STATES DISTRICT COURT
                        DISTRICT OF RHODE ISLAND


 UNITED STATES OF AMERICA ex rel.
 DEBORAH SOUZA,                                   Case No. 1:22-cv-00453-JJM-PAS
                                    Plaintiff,
                                                  ORAL ARGUMENT REQUESTED
 v.

 EMBRACE HOME LOANS, INC., DENNIS
 HARDIMAN, KURT NOYCE, and ROBERT
 LAMY,
                             Defendants.




      RELATOR DEBORAH SOUZA’S MEMORANDUM OF LAW IN OPPOSITION TO
      DEFENDANTS’ MOTION FOR LEAVE TO AMEND ANSWER TO THE SECOND
                          AMENDED COMPLAINT
Case 1:22-cv-00453-JJM-PAS                       Document 116               Filed 01/16/24            Page 2 of 26 PageID #:
                                                         1244



                                                 TABLE OF CONTENTS

                                                                                                                                Page

 TABLE OF AUTHORITIES................................................................................................... iii

 PRELIMINARY STATEMENT .............................................................................................. 1

 FACTUAL AND PROCEDURAL BACKGROUND............................................................. 1

 ARGUMENT ........................................................................................................................... 4

 I.        LEAVE TO AMEND SHOULD BE DENIED BECAUSE EACH OF THE
           PROPOSED DEFENSES IS FUTILE ......................................................................... 4

           A.        Leave to amend to add the statute of limitations defense is futile because
                     the Court already struck that defense and did not grant Embrace’s request
                     for leave to replead ................................................................................. 5

           B.        The statute of limitations defense is also futile on the additional grounds
                     that Embrace has failed to properly plead the required elements of the
                     defense ................................................................................................... 6

           C.        The good faith defense is futile because it is not an affirmative defense
                     ............................................................................................................... 7

           D.        Embrace cannot assert an affirmative defense of government knowledge,
                     ratification, and estoppel because such defenses are futile ...................... 8

                     1.        “Government knowledge” is no longer a defense under the FCA, and even
                               if it were, Embrace has failed to sufficiently allege that it provided full
                               disclosure of its fraudulent schemes to the Department of Justice ........ 8

                     2.        Ratification is unavailable as an affirmative defense in an FCA action,
                               and in any event, Embrace has failed to plead the required elements . 10

                     3.        The equitable estoppel is futile because it is unavailable as an affirmative
                               defense in an FCA action and even if it were, Embrace has failed to allege
                               the facts necessary for the defense to apply ......................................... 11

           E.        The mitigation defense is futile because it cannot be asserted as an
                     affirmative defense in an FCA action .................................................... 12

           F.        Embrace’s Fifth Affirmative Defense regarding the mere denial of liability
                     and damages is futile because it is not an affirmative defense............... 13


                                                                  -i-
Case 1:22-cv-00453-JJM-PAS                          Document 116                  Filed 01/16/24               Page 3 of 26 PageID #:
                                                            1245



 II.       LEAVE TO AMEND SHOULD FURTHER BE DENIED BECAUSE EACH OF
           THE PROPOSED DEFENSES FAILS TO MEET THE REQUIRED RULE 8
           PLEADING STANDARD SET BY THIS COURT ................................................. 14

 III.      ANY FURTHER REQUESTS FOR LEAVE TO REPLEAD SHOULD BE DENIED
           ..................................................................................................................................... 18

 CONCLUSION ...................................................................................................................... 18




                                                                       -ii-
Case 1:22-cv-00453-JJM-PAS                      Document 116               Filed 01/16/24             Page 4 of 26 PageID #:
                                                        1246



                                              TABLE OF AUTHORITIES

 Cases                                                                                                                     Page(s)

 Amyndas Pharms., S.A. v. Zealand Pharma A/S,
  48 F.4th 18 (1st Cir. 2022) ................................................................................................... 4

 Arizona v. California,
   460 U.S. 605 (1983) ............................................................................................................. 5

 Ashcroft v. Iqbal,
   556 U.S. 662 (2009) ........................................................................................................... 16

 Boldstar Tech., LLC v. Home Depot, Inc.,
   517 F. Supp. 2d 1283 (S.D. Fla. 2007) ............................................................................... 14

 Cochise Consultancy, Inc. v. United States ex rel. Hunt,
  139 S. Ct. 1507 (2019) ..................................................................................................... 6, 7

 Emerito Estrada Rivera-Isuzu de P.R., Inc. v. Consumers Union of United States, Inc.
  233 F.3d 24 (1st Cir. 2000) ................................................................................................ 18

 Fishman v. Tiger Nat. Gas Inc.,
   No. C 17-05351 WHA, 2018 WL 4468680 (N.D. Cal. Sept. 18, 2018)............................. 7

 In re Jensen,
   200 B.R. 5 (Bankr. D.N.H. 1996) ....................................................................................... 12

 Jana, Inc. v. United States,
   34 Fed. Cl. 447 (1995) .......................................................................................................... 6

 Mimiya Hosp., Inc. SNF v. U.S. Dep't Of Health And Hum. Servs.,
  331 F.3d 178 (1st Cir. 2003) .............................................................................................. 12

 Naser Jewelers, Inc. v. City of Concord, N.H.,
  538 F.3d 17 (1st Cir. 2008) .................................................................................................. 5

 Office of Personnel Mgmt. v. Richmond,
  496 U.S. 414 (1990) ........................................................................................................... 11

 Osinek v. Permanente Med. Grp., Inc.,
  Case No. 13-CV-03891-EMC, 2023 WL 8811810 (N.D. Cal. Dec. 19, 2023) ................. 11

 Schatz v. Republican State Leadership Comm.,
   669 F.3d 50 (1st Cir. 2012) .................................................................................... 15, 16, 17


                                                                 -iii-
Case 1:22-cv-00453-JJM-PAS                    Document 116              Filed 01/16/24           Page 5 of 26 PageID #:
                                                      1247



 Scott Griffith Collaborative Sols., LLC v. Falck N. Cal. Corp.,
   Case No. 19-CV-06104-SBA, 2021 WL 4846935 (N.D. Cal. June 7, 2021) ....................... 7

 Toepleman v. United States,
   263 F.2d 697 (4th Cir. 1959).............................................................................................. 12

 United States ex rel. Pub. Integrity v. Therapeutic Tech. Inc.,
  895 F. Supp. 294 (S.D. Ala. 1995)...................................................................................... 14

 United States ex rel. Spay v. CVS Caremark Corp.,
  No. CIV. A. 09-4672, 2013 WL 1755214 (E.D. Pa. Apr. 24, 2013) ................................. 10

 United States ex rel. Burlbaw v. Orenduff,
  548 F.3d 931 (10th Cir. 1998) ......................................................................................... 8, 9

 United States ex rel. Dye v. ATK Launch Sys., Inc.,
  No. 06-cv-39, 2008 WL 4642164 (D. Utah Oct. 16, 2008) .............................................. 10

 United States ex rel. Frey v. Health Mgmt. Sys., Inc.,
  No. 3:19-CV-0920-B, 2021 WL 4502275 (N.D. Tex. Oct. 1, 2021) ................................... 6

 United States ex rel. Garrison v. Crown Roofing Servs., Inc.,
  No. H-07-1018, 2011 WL 4914971 (S.D. Tex. Oct. 14, 2011)......................................... 13

 United States ex rel. Lujan v. Hughes Aircraft Co.,
  243 F.3d 1181 (9th Cir. 2001) ............................................................................................. 8

 United States ex rel. Monahan v. Robert Wood Johnson Univ. Hosp. at Hamilton,
   No. 02-5702, 2009 WL 4576097 (D. N.J. Dec. 1, 2009) ........................................... 11, 12

 United States ex rel. Poehling v. UnitedHealth Grp., Inc.,
  No. CV 16-8697-MWF (SSX), 2019 WL 2353125 (C.D. Cal. Mar. 28, 2019) ............ 9, 10

 United States v. Assocs. in Eye Care, P.S.C.,
  No. 13-cv-27-GFVT, 2014 WL 12606508 (E.D. Ky. Nov. 14, 2014) ........................... 9, 10

 United States v. Ctr. for Diagnostic Imaging, Inc.,
  No. C05-0058RSL, 2011 WL 6300174 (W.D. Wash. Dec. 16, 2011).............................. 14

 United States v. Cushman & Wakefield, Inc.,
  275 F. Supp. 2d 763 (N.D. Tex. 2002) ............................................................................... 10

 United States v. HCR Manor Care, Inc.,
  No. 09-cv-00013, 2015 WL 11117429 (E.D. Va. Dec. 9, 2015) ....................................... 13



                                                              -iv-
Case 1:22-cv-00453-JJM-PAS                        Document 116               Filed 01/16/24              Page 6 of 26 PageID #:
                                                          1248



 United States v. Hemmen,
  51 F.3d 883 (9th Cir. 1995)................................................................................................ 12

 United States v. Honeywell Int'l, Inc.,
  841 F. Supp. 2d 112 (D.D.C. 2012) ............................................................................. 10, 12

 United States v. Ogden,
  No. 20-CV-01691-DMR, 2021 WL 858467 (N.D. Cal. Mar. 8, 2021) ............................... 8

 United States v. United Techs. Corp.,
  950 F. Supp. 2d 949 (S.D. Ohio 2013)............................................................................... 13

 United States v. Inc. Village of Island Park,
  888 F. Supp. 419 (E.D.N.Y. 1995) ..................................................................................... 11

 United States v. Villaspring Health Care Ctr., Inc.,
  No. 3:11-43-DCR, 2011 WL 6337455 (E.D. Ky. Dec. 19, 2011) ....................................... 9

 Wayne Inv., Inc. v. Gulf Oil Corp.
  739 F.2d 11, 15 (1st Cir. 1984) .......................................................................................... 18

 Zivkovic v. S. Cal. Edison Co.,
   302 F.3d 1080 (9th Cir. 2002) ........................................................................................... 13

 Statutes

 31 U.S.C. § 3729 ...................................................................................................................... 1

 31 U.S.C. § 3730 ...................................................................................................................... 1

 31 U.S.C. § 3731(b)(2)............................................................................................................. 6

 Other Authorities

 6 Fed. Prac. & Proc. Civ. § 1487 (3d ed. 2022) ....................................................................... 4

 S. Rep. No. 345, 99th Cong., 2d Sess. 30 (1986), reprinted in 1986 U.S.C.C.A.N. 5266 ..... 6




                                                                   -v-
Case 1:22-cv-00453-JJM-PAS         Document 116        Filed 01/16/24     Page 7 of 26 PageID #:
                                           1249



                                  PRELIMINARY STATEMENT

        Defendants’ Embrace Home Loans, Inc., Dennis Hardiman, Kurt Noyce, and Robert

 Lamy (collectively “Embrace”) move for leave to file five affirmative defenses. Each of the

 proposed defenses fail for multiple reasons. First, the statute of limitations defense, which has

 already been struck by this Court, and the Court did not grant Embrace leave to replead that

 defense despite Embrace’s request that the Court do so. Second, leave to amend would be futile

 because each proposed defense is either: (1) not an actual affirmative defense; (2) not an

 affirmative defense that can be raised in a False Claims Act case such as this; or (3) because

 Embrace fails to plead the necessary facts to sustain the required elements of the affirmative

 defense. Third, while the Court previously ruled that a Rule 8 pleading standard would apply

 to Embrace’s affirmative defenses in this case where the allegations have been known to

 Embrace for more than a year, Embrace has ignored that ruling, and continues to plead its

 defenses in generic and conclusory terms, and without factual support demonstrating the

 applicability of each defense.

        As a result, Embrace’s motion must be denied.

                     FACTUAL AND PROCEDURAL BACKGROUND

        Relator Debora Souza filed this action under the False Claims Act (“FCA”), 31 U.S.C.

 § 3729 et seq. on February 14, 2019. ECF No. 1. Pursuant to its statutory obligations as the

 sole authority to investigate False Claims Act cases under 31 U.S.C. § 3730, the Attorney

 General, via the Department of Justice (“DOJ”), investigated the matter. Defendants do not

 allege, nor does anything in the record reflect that the DOJ was notified about Embrace’s fraud

 on the FHA and HUD until after Relator filed this action. After the government declined to




                                                -1-
Case 1:22-cv-00453-JJM-PAS         Document 116        Filed 01/16/24    Page 8 of 26 PageID #:
                                           1250



 intervene, the case was unsealed on April 27, 2022. ECF No. 25. Counsel for each of the

 defendants filed notices of appearances in this action on June 23, 2022. ECF No. 32.

        Embrace sought to dismiss the complaint in its entirety. See ECF No. 86. As part of its

 motion, Embrace articulated the well-known Rule 8 pleading standards that mere recitals of

 elements and conclusory allegations are not to be credited. See ECF No. 86 at *6 (“Statements

 in [a pleading] that amount to threadbare recitals of the elements of a cause of action as well

 as bald assertions, subjective characterizations and legal conclusions are to be disregarded.”)

 (citations and internal quotations omitted). To meet those requirements of Rule 8, Relator’s

 Second Amended Complaint laid out in detail how Embrace’s policies and practices resulted

 in the violation of HUD’s rules and regulations and led to the creation and submission of false

 claims to the United States. ECF No. 97 at ¶ 232. Embrace also sought to dismiss Relator’s

 claims on the grounds that some of the claims were time barred as outside of the statute of

 limitations. ECF No. 86 at *28-32.

        Finding that Relator’s complaint met the pleading requirements of Rules 8(a) and 9(b),

 the Court denied Embrace’s Motion to Dismiss in its entirety. 1 See ECF No. 96. Additionally,

 the Court rejected Embrace’s statute of limitations argument and noted that the FCA provides

 a statute of limitations period of up to ten years. Id. at *13-16.

        Embrace subsequently filed their answer to Relator’s Second Amended Complaint on

 July 31, 2023. See ECF No. 99. Despite previously losing on the statue of limitations defense

 presented in its Motion to Dismiss, Embrace again raised a statute of limitations affirmative

 defense, along with laches and waiver defenses in its answer.2 Id. Unlike the painstaking detail


 1
        After the Court ruled on Embrace’s Motion to Dismiss, Relator filed the Second Amended
        Complaint on July 3, 2023 to correct a single typographical error.
 2
        Waiver was repeated twice.

                                                -2-
Case 1:22-cv-00453-JJM-PAS         Document 116       Filed 01/16/24     Page 9 of 26 PageID #:
                                           1251



 that existed in Relator’s Second Amended Complaint, Embrace’s answer only stated the name

 of the defense and in conclusory terms. Id. Although Embrace subsequently argued that it was

 permitted to plead the affirmative defenses in such a manner, this Court later rejected that

 argument. See ECF No. 104; October 10, 2023 Order.

        Relator subsequently moved on September 11, 2023 to strike each of Embrace’s

 affirmative defenses on the grounds that they did not meet the required pleading standard

 under Iqbal/Twombly. See ECF No. 103. Embrace responded by both opposing Relator’s motion

 and also requesting, in the alternative, that the Court grant Embrace leave to replead its

 defenses if it found them deficient. See ECF No. 103.

        Just hours after Relator filed her reply brief in further support of her Motion to Strike

 the affirmative defenses, the Court granted in whole Relator’s motion on October 10, 2023.

 See October 10, 2023 Order. As a result, the statute of limitations affirmative defense was

 struck. Id. Although Embrace had argued in opposing the motion that the Twombly/Iqbal

 pleading standard and Rule 8 did not apply to their affirmative defenses, the Court disagreed

 with that argument and given that a year had passed since Embrace had received the complaint,

 Embrace was required to meet the Rule 8 pleading standards, i.e., the standards that apply in

 federal court and are discussed in Iqbal/Twombly. See ECF No. 104; October 10, 2023 Order.

        Significantly, the Court’s Order did not grant Embrace’s request for leave to replead the

 affirmative defenses. See October 10, 2023 Order. Embrace did not seek reconsideration or

 appeal of that Order, including the Court’s refusal to grant their request to replead the SOL

 defense.

        Embrace remains undeterred by the Court’s requirement that any affirmative defense

 be plead in accordance with the Rule 8 requirements, and is equally undeterred by the fact that


                                               -3-
Case 1:22-cv-00453-JJM-PAS          Document 116 Filed 01/16/24            Page 10 of 26 PageID
                                          #: 1252



 the Court rejected its statute of limitations defense and without leave to replead despite

 Embrace’s request for that relief. While nothing had changed after the October 10, 2023 Order,

 Embrace decided to do exactly what the Court did not grant it permission to do, namely, move

 the Court some two months later to replead the statute of limitations defense, which Embrace

 did on December 12, 2023. See ECF No. 114. In addition to its already-struck statute of

 limitations defense, Embrace also seeks to add four other “affirmative defenses” that it never

 even bothered to raise in its answer filed on July 31, 2023: (1) good faith; (2) government

 knowledge, ratification, and estoppel; (3) failure to mitigate; and (4) that Embrace did not

 commit any underwriting errors, and if it did, the errors were not the result of fraud and that

 Embrace is only required to indemnify FHA for violations of its underwriting rules. See ECF

 No. 114-1.

                                          ARGUMENT

 I.     LEAVE TO AMEND SHOULD BE DENIED BECAUSE EACH OF THE
        PROPOSED DEFENSES IS FUTILE

        While Embrace’s request for leave to amend can be denied in any number of ways

 (including, as discussed infra at Point II, Embrace’s wholesale failure to plead its affirmative

 defenses with the pleading standard already ordered by this Court), leave to amend can be

 immediately be denied because each of Embrace’s proposed defenses is futile. Denial of leave

 to amend based on futility is warranted if the proposed amendment is “either frivolous or

 contains some fatal defect.” Amyndas Pharmaceuticals, S.A. v. Zealand Pharma A/S, 48 F.4th 18,

 40 (1st Cir. 2022) (citing Charles Alan Wright, Arthur R. Miller & Mary Kay Kane, 6 Fed.

 Prac. & Proc. Civ. § 1487 (3d ed. 2022)).

        Here, each of Embrace’s proposed defenses are futile. First, as to the replead statue of

 limitations defense, that defense is futile because this Court already struck that defense in its

                                                -4-
Case 1:22-cv-00453-JJM-PAS          Document 116 Filed 01/16/24            Page 11 of 26 PageID
                                          #: 1253



 October 10, 2023 Order and the Court did not grant Embrace leave to replead. Second, all of

 the defenses (including the statute limitations one) fail as a matter of law because either: (1)

 the defense is not actually an affirmative defense; (2) the defense cannot be brought against

 the United States in an FCA case; and/or (3) Embrace has failed to sufficiently plead enough

 facts to support the defense.

        A.     Leave to amend to add the statute of limitations defense is futile because
               the Court already struck that defense and did not grant Embrace’s request
               for leave to replead.

        This Court should first deny Embrace’s leave to amend to replead a statute of

 limitations defense because this Court already struck that defense in its October 10, 2023

 Order and did not grant Embrace leave to replead that defense (as Embrace had requested).

 See October 10, 2023 Order. In waiting over two months to file a proposed amended answer,

 Embrace without explanation or excuse, did precisely what the Court had told it not to do,

 namely, file another answer using conclusory affirmative defenses. However, the Court’s

 previous decision is the law of the case and Embrace’s attempt to reverse that determination

 must fail as the previous decision is binding. Naser Jewelers, Inc. v. City of Concord, N.H., 538

 F.3d 17, 20 (1st Cir. 2008) (“when a court decides upon a rule of law, that decision should

 continue to govern the same issues in subsequent stages in the same case.”) (quoting Arizona v.

 California, 460 U.S. 605, 618 (1983)). Embrace notably did not seek any reconsideration or

 appeal of that Order, nor could it given that the Court did not err.

        Because Embrace has already lost this defense and leave to replead was not granted, it

 cannot be reasserted.




                                                -5-
Case 1:22-cv-00453-JJM-PAS           Document 116 Filed 01/16/24             Page 12 of 26 PageID
                                           #: 1254



        B.      The statute of limitations defense is also futile on the additional grounds
                that Embrace has failed to properly plead the required elements of the
                defense.

        Embrace’s attempts to replead the statute of limitations defense is also futile because

 Embrace has not factually plead that the Attorney General or DOJ were notified of Embrace’s

 fraud prior to this qui tam complaint, which it would be required to provide in order for

 anything less than the FCA’s 10-year statute of limitations to apply.

        The Supreme Court has recently explained that unless a defendant can show that the

 action was brought within three years after the Attorney General or DOJ was notified of the

 fraud, the FCA’s ten-year statute of limitations period applies. Cochise Consultancy, Inc. v. United

 States ex rel. Hunt, 139 S. Ct. 1507, 1510 (2019) (discussing the FCA’s multi-prong statute of

 limitations and stating that whatever period provides the longest statute of limitations period

 applies); see also S. Rep. No. 345, 99th Cong., 2d Sess. 30 (1986), reprinted in 1986

 U.S.C.C.A.N. 5266, 5295. (“The statute of limitations does not begin to run until the material

 facts are known by an official within the Department of Justice with the authority to act in the

 circumstances.”).

        Courts are clear that it is only the Attorney General or DOJ that can trigger such

 knowledge, not just any “government official,” such as those in administrative agencies. See e.g.,

 Jana, Inc. v. United States, 34 Fed. Cl. 447, 451 n.6 (1995) (“[T]he discovery that triggers 31

 U.S.C. § 3731(b)(2) is not knowledge of the fraud by any Government official, but knowledge

 of the fraud by an official having the authority to initiate litigation under the Act, generally

 considered to be an official at the Civil Division of the Department of Justice which has

 exclusive litigating authority under the False Claims Act.”); United States ex rel. Frey v. Health

 Mgmt. Sys., Inc., No. 3:19-CV-0920-B, 2021 WL 4502275, at *15 (N.D. Tex. Oct. 1, 2021)


                                                 -6-
Case 1:22-cv-00453-JJM-PAS            Document 116 Filed 01/16/24                Page 13 of 26 PageID
                                            #: 1255



 (holding that ‘the official’ under section 3731(b)(2) is an employee of the DOJ, and not to an

 employee of an agency).

        Here, Embrace’s proposed affirmative defense regarding the statutes of limitations fails

 as a matter of law because it fails to plead that Embrace notified the Attorney General or the

 DOJ about the fraud. As a result, the longest ten-year statute under Cochise applies, which is

 consistent with this Court’s prior decision on the motion to dismiss. Cochise, 139 S. Ct. at 1510;

 ECF No. 96. As a result, the longer 10-year statute of limitations under Cochise applies and the

 claims relate back to February 14, 2009. However, because Relator is not pursuing any claims

 occurring before that date, no claims are barred by the statute of limitations. 3

        Therefore, because Embrace’s statute of limitations defense is futile, the Court should

 deny Embrace leave to replead this defense.

        C.      The good faith defense is futile because it is not an affirmative defense.

        Good faith is not an affirmative defense and therefore cannot be plead as such.

        Courts consistently hold that a good faith defense is not an actual affirmative defense.

 See Fishman v. Tiger Nat. Gas Inc., No. C 17-05351 WHA, 2018 WL 4468680, at *6 (N.D. Cal.

 Sept. 18, 2018) (striking “good faith” affirmative defense because “good faith only negates

 plaintiff's prima facie case” and therefore was not an affirmative defense); Scott Griffith

 Collaborative Sols., LLC v. Falck N. California Corp., No. 19-CV-06104-SBA, 2021 WL 4846935,

 at *6 (N.D. Cal. June 7, 2021) (dismissing good faith affirmative defense where defendant did

 not dispute that good faith was not an affirmative defense). As a court has explained in the

 context of an FCA case, in order to prove their case, a relator “must show that [defendant]


 3
        The parties have agreed to a claims universe where the earliest claims processing date is June 21,
        2010, so Relator is not even seeking the fullest extent of the statute of limitations. As no claims
        are barred, the defense is futile.

                                                   -7-
Case 1:22-cv-00453-JJM-PAS          Document 116 Filed 01/16/24            Page 14 of 26 PageID
                                          #: 1256



 knowingly made a false statement or engaged in a fraudulent course of conduct. Therefore, a

 defense of good faith only challenges [relator’s] claim and is not an affirmative defense.” United

 States v. Ogden, No. 20-CV-01691-DMR, 2021 WL 858467, at *4 (N.D. Cal. Mar. 8, 2021)

 (internal citations omitted). As a result, this proposed defense immediately fails as a matter of

 law.

        Consequently, because good faith is not even an affirmative defense that can be plead,

 it would be futile to allow this proposed amendment.

        D.      Embrace cannot assert an affirmative defense of government knowledge,
                ratification, and estoppel because such defenses are futile.

        Embrace’s Third Affirmative Defense raises the defenses of government knowledge,

 ratification, and estoppel. The proposed amendment to add these defenses would serve no

 purpose and would be futile because: (1) government knowledge is not an actual affirmative

 defense, and even if it were, Embrace has failed to allege to that it fully informed the United

 States about its fraudulent conduct; and (2) ratification and estoppel cannot be asserted against

 the United States in a False Claims Act action.

                   1. “Government knowledge” is no longer a defense under the FCA, and
                      even if it were, Embrace has failed to sufficiently allege that it provided
                      full disclosure of its fraudulent schemes to the Department of Justice.

        First, Embrace’s defense of “government knowledge” is not a defense, let alone an

 affirmative defense. While previous versions of the FCA limited the jurisdiction of courts over

 some actions where the government had knowledge of fraud prior to an FCA action being

 commenced, that defense was eliminated decades ago. See United States ex rel. Lujan v. Hughes

 Aircraft Co., 243 F.3d 1181, 1194 n.3 (9th Cir. 2001) (“The 1986 amendments eliminate the

 government knowledge defense”). As a result, government knowledge “is not a statutory

 defense to liability.” United States ex rel. Burlbaw v. Orenduff, 548 F.3d 931, 952 (10th Cir.

                                                -8-
Case 1:22-cv-00453-JJM-PAS           Document 116 Filed 01/16/24            Page 15 of 26 PageID
                                           #: 1257



 1998); United States ex rel. Poehling v. UnitedHealth Grp., Inc., No. CV 16-8697-MWF (SSX),

 2019 WL 2353125, at *10 (C.D. Cal. Mar. 28, 2019) (striking government knowledge

 defense); United States v. Assocs. in Eye Care, P.S.C., 2014 WL 12606508, at *4 (E.D. Ky. Nov.

 14, 2014) (striking affirmative defense that “merely allege[d]” government knowledge.

        Moreover, the issue of government knowledge only becomes relevant to an FCA case if

 the defendant shows that it was “forthcoming” and “open with the government” about the

 allegedly false information; it is not available where the defendant “neglected to disclose all the

 pertinent information.” Burlbaw, 548 F.3d at 952-53 (discussing that “” “[t]he proper focus of

 the scienter inquiry … must always rest on the defendant’s ‘knowledge’ of whether the claim

 is false”); see also United States v. Villaspring Health Care Ctr., Inc., 2011 WL 6337455, at *3

 (E.D. Ky. Dec. 19, 2011) (“the ‘statutory basis for an FCA claim is the defendants' knowledge

 of the falsity of its claim, which is not automatically exonerated by any overlapping knowledge

 by government officials.”). Therefore, to even raise this issue, the Embrace would need to show

 that it was “open" and “forthcoming” with the government about its fraudulent conduct.

 However, as Embrace has argued vociferously that it has done nothing wrong, Embrace’s

 denials in its answer to the allegations in the complaint would need to be amended before such

 a defense could even be attempted to be asserted. In fact, as set forth in the SAC, Embrace’s

 conduct with the DOJ has never been, and continues to be, anything but “open” and

 “forthcoming.”

        Therefore, because the “government knowledge” affirmative defense does not even

 exist, and even if it did, Embrace has still not sufficiently alleged it, an amendment to include

 this defense would be futile and must be denied.




                                                 -9-
Case 1:22-cv-00453-JJM-PAS            Document 116 Filed 01/16/24          Page 16 of 26 PageID
                                            #: 1258



                   2. Ratification is unavailable as an affirmative defense in an FCA action,
                      and in any event, Embrace has failed to plead the required elements.

        While Embrace also seeks to include ratification as part of its Third Affirmative

 Defense, ratification is unavailable against the United States in a False Claims Act action. See

 United States ex rel. Dye v. ATK Launch Sys., Inc., No. 06-cv-39, 2008 WL 4642164, at *3

 (dismissing affirmative defense of ratification in FCA action because a “violation of the rights

 of the United States may not be waived or ratified by the unauthorized acts of its agents.”);

 U.S. ex rel. Spay v. CVS Caremark Corp., No. CIV.A. 09-4672, 2013 WL 1755214, at *12 (E.D.

 Pa. Apr. 24, 2013) (striking ratification affirmative defense in FCA case); Poehling, 2019 WL

 2353125, at *11 (same); Assocs. in Eye Care, 2014 WL 12606508, at *4; Cushman & Wakefield,

 275 F. Supp. 2d 763, 771 (N.D. Tex. 2002) (striking ratification defense); see also United States

 v. Honeywell Int'l, Inc., 841 F. Supp. 2d 112, 115 (D.D.C. 2012) (striking similar defense of

 waiver). As a result, Embrace cannot this defense against the United States.

        Additionally, in order to meet the minimal pleading elements of this defense, Embrace

 would need to show that there was a clear and intentional waiver of the government’s right to

 enforce the FCA by the Attorney General or DOJ. See United States ex rel. Dye v. ATK Launch

 Sys., Inc., 2008 WL 4642164, at *3 (D. Utah Oct. 16, 2008) (“Defendant has not plead that

 the Department of Justice waived these rights. Therefore, as currently pled, Defendant’s waiver

 and ratification defenses fail as a matter of law and will be stricken.”); Cushman & Wakefield,

 Inc., 275 F. Supp. 2d at 771 (“C&W has not plead that DOJ waived these rights . . . .

 Consequently, as currently plead, the waiver and ratification defenses are unavailable to

 C&W.”). As Embrace has not made any such allegations, Embrace fails to even plead the

 elements required of this defense.

        Accordingly, leave to amend to add a ratification defense would be entirely futile.

                                               -10-
Case 1:22-cv-00453-JJM-PAS           Document 116 Filed 01/16/24             Page 17 of 26 PageID
                                           #: 1259



                    3. The equitable estoppel defense is futile because it is unavailable as an
                       affirmative defense in an FCA action and even if it were, Embrace has
                       failed to allege the facts necessary for the defense to apply.

        Embrace’s estoppel affirmative defense is also futile because: (1) an equitable estoppel

 defense cannot be asserted against the United States in an FCA action; and (2) even assuming

 arguendo that such a defense could be raised, Embrace still fails to plead the necessary elements

 of this defense.

        First, under Supreme Court precedent, “equitable estoppel will not lie against the

 Government as it lies against private litigants.” Office of Personnel Mgmt. v. Richmond, 496 U.S.

 414, 416 (1990). In light of Richmond, a plethora of courts have found that the affirmative

 defense of equitable estoppel is unavailable as a matter of law in False Claims Act cases. See

 e.g., Osinek v. Permanente Med. Grp., P.C., No. 13-CV-03891-EMC, 2023 WL 8811810, at *7

 (N.D. Cal. Dec. 19, 2023) (“Accordingly, based on Richmond and as a matter of statutory

 interpretation, both the affirmative defenses of estoppel and ratification (which is similar in

 nature to estoppel) are barred.”); United States v. Inc. Vill. of Island Park, 888 F. Supp. 419, 453

 (E.D.N.Y. 1995) (citing Richmond and holding that “there can be no estoppel” in FCA cases);

 United States ex rel. Monahan v. Robert Wood Johnson University Hosp., No. 02-5702, 2009 WL

 4576097, *7 (D. N.J. Dec. 1, 2009) (“Because public money is at stake in this [False Claims

 Act] case, it is readily apparent that the affirmative defense of estoppel cannot be maintained”).

        Second, even if an estoppel defense could be raised in this case, Embrace still has failed

 to plead the required elements and facts for such a defense. In this Circuit, a party seeking to

 assert estoppel must show that: (1) the party to be estopped made a “definite representation

 of fact to another person having reason to believe that the other [would] rely upon it;” (2) the

 party seeking estoppel relied on the misrepresentations to its detriment; and (3) the “reliance


                                                -11-
Case 1:22-cv-00453-JJM-PAS          Document 116 Filed 01/16/24            Page 18 of 26 PageID
                                          #: 1260



 [was] reasonable in that the party claiming the estoppel did not know that its adversary's

 conduct was misleading.” Mimiya Hosp., Inc. SNF v. U.S. Dep't Of Health And Hum. Servs., 331

 F.3d 178, 182 (1st Cir. 2003).

        Here, Embrace identifies no “definite representation” made by the United States, fails

 to factually allege that the United States was aware of the true facts, and does not provide a

 basis for explaining how Embrace’s reliance was reasonable and that it did not know the United

 States’ conduct was misleading. See Honeywell Int'l, Inc., 841 F. Supp. 2d at 115 (estoppel

 defense insufficiently plead because defendant failed to identify any representations by the

 government or reliance on any such representations). Furthermore, “[w]hen a party seeks to

 invoke equitable estoppel against the government, there must also be a showing that the agency

 engaged in ‘affirmative conduct going beyond mere negligence’ and that ‘the public's interest

 will not suffer undue damage’ as a result of the application of this doctrine.” In re Jensen, 200

 B.R. 5, 8 (Bankr. D.N.H. 1996) (quoting United States v. Hemmen, 51 F.3d 883, 892 (9th Cir.

 1995)). Embrace makes no such allegations. As a result, Embrace has failed to plead the

 necessary elements of an estoppel defense.

        Accordingly, any amendment to add an equitable estoppel defense would be futile.

        E.     The mitigation defense is futile because it cannot be asserted as an
               affirmative defense in an FCA action.

        Much like the estoppel defense discussed above, a failure to mitigate affirmative defense

 against the government is barred in a False Claims Act case. As a result, this defense is futile

 and leave to amend should be denied.

        “The Government has no duty to mitigate damages in fraud actions, including those

 under the FCA.” Monahan, 2009 WL 4576097, at *8 (citing Toepleman v. United States, 263

 F.2d 697, 700 (4th Cir. 1959). As a result, courts have explicitly held that the duty to mitigate

                                               -12-
Case 1:22-cv-00453-JJM-PAS           Document 116 Filed 01/16/24             Page 19 of 26 PageID
                                           #: 1261



 does not apply to the government in fraud actions, including those under the FCA. See e.g.,

 United States v. HCR Manor Care, Inc., No. 09-cv-00013, 2015 WL 11117429, *1 (E.D. Va.

 Dec. 9, 2015) (“Failure to Mitigate Damages fails as a matter of law because it is well settled

 that the United States has no duty to mitigate damages in a fraud action, including an FCA

 claim.”); United States v. United Technologies Corp., 950 F. Supp. 2d 949, 954 (S.D. Ohio 2013)

 (“The Government has no duty to mitigate damages in fraud actions, including those under

 the FCA”) (citation omitted); United States ex rel. Garrison v. Crown Roofing Services, Inc., No. H-

 07-1018, 2011 WL 4914971 at *2 (S.D. Tex. Oct. 14, 2011) (striking affirmative defense of

 failure to mitigate in a False Claims Act case on the ground that “[t]he Government has no

 duty to mitigate damages in cases where fraud is alleged”).

        Given that mitigation cannot be raised as an affirmative defense in this action, it fails

 as a matter of law and leave to amend would be futile.

        F.      Embrace’s Fifth Affirmative Defense regarding the mere denial of liability
                and damages is futile because it is not an affirmative defense.

        Embrace’s Fifth Affirmative Defense alleges that Relator’s allegations do not establish

 violations of FHA underwriting because: (1) Relator incorrectly states the regulatory

 requirements; (2) that Embrace did not submit false certifications because it underwrote the

 loans with proper due diligence; and (3) to the extent underwriting errors were made, it was

 not due to the fraud that Relator alleges. See ECF No. 114-1 at *1137. Embrace additionally

 contends it is only required to indemnify FHA for violations of its underwriting rules. Id.

        To begin with, it is entirely unclear what “defense” Embrace is attempting to raise here,

 but it is certainly not an affirmative defense. To the extent that Embrace is merely denying the

 allegations in the complaint or pointing out a lack of evidence in the case, that is not a proper

 affirmative defense. Zivkovic v. S. Cal. Edison Co., 302 F.3d 1080, 1088 (9th Cir. 2002); United

                                                -13-
Case 1:22-cv-00453-JJM-PAS           Document 116 Filed 01/16/24             Page 20 of 26 PageID
                                           #: 1262



 States v. Ctr. for Diagnostic Imaging, Inc., No. C05-0058RSL, 2011 WL 6300174, at *4 (W.D.

 Wash. Dec. 16, 2011) (“Defendant's ninth defense is also not an affirmative defense, but rather

 a simple denial of liability”); Boldstar Tech., LLC v. Home Depot, Inc., 517 F. Supp. 2d 1283,

 1291 (S.D. Fla. 2007) (“an affirmative defense which merely points out a defect or lack of

 evidence in the plaintiff’s case is not an affirmative defense at all”). Additionally, to the extent

 that the defense can also be read as seeking indemnification, much like the estoppel and

 ratification defenses discussed above, indemnification is unavailable as a matter of law in an

 FCA action. U.S. ex rel. Pub. Integrity v. Therapeutic Tech. Inc., 895 F. Supp. 294, 296 (S.D. Ala.

 1995) (“FCA defendants are precluded as a matter of law from seeking indemnification”).

        Therefore, this purported “affirmative defense” is futile as well.

 II.    LEAVE TO AMEND SHOULD FURTHER BE DENIED BECAUSE EACH OF
        THE PROPOSED DEFENSES FAILS TO MEET THE REQUIRED RULE 8
        PLEADING STANDARD SET BY THIS COURT

        As discussed above, Embrace’s motion must be denied because amendment would be

 futile. As a result, the Court need not go any further and can immediately deny the motion in

 its entirety. However, even if the Court were not to consider the futility arguments, leave to

 amend should further be denied because each of the proposed affirmative defenses are based

 entirely on conclusory and/or speculative allegations that do not meet pleading standard set by

 this Court in its October 10, 2023 Order.

        Embrace previously requested that this Court allow conclusory affirmative defenses to

 be plead. See ECF No. 104. However, that request was rejected by the Court in its October 10,

 2023 Order. In that ruling, the Court held that where the allegations had been known to

 Embrace for over a year, the Iqbal/Twombly pleading standard under Rule 8 would be required

 for affirmative defenses. See October 10, 2023 Order.


                                                -14-
Case 1:22-cv-00453-JJM-PAS           Document 116 Filed 01/16/24              Page 21 of 26 PageID
                                           #: 1263



        Embrace knows full well what is required under that standard having previously defined

 what types of allegations would be insufficient in its Motion to Dismiss Relator’s complaint:

 “bald assertions, subjective characterizations and legal conclusions.” See ECF No. 86 at *6

 (internal quotation marks omitted). That is fully consistent with the First Circuit’s instructions

 for evaluating whether a pleading meets the Rule 8 standards, whereby courts eliminate or

 ignore the portions of the pleading that offer legal labels and conclusions, merely rehash the

 cause of action elements, or that contain conclusory and speculative facts. See Schatz v.

 Republican State Leadership Comm., 669 F.3d 50, 55 (1st Cir. 2012) (discussing a two-step

 process as: “Step one: isolate and ignore statements in the complaint that simply offer legal

 labels and conclusions or merely rehash cause-of-action elements. Step two: take the

 complaint's well-pled (i.e., non-conclusory, non-speculative) facts as true, drawing all

 reasonable inferences in the pleader's favor, and see if they plausibly narrate a claim for relief.”)

        Despite being well acquainted with that standard, Embrace remains defiant in pleading

 affirmative defenses are composed of entirely of bald assertions, generalized and subjective

 characterizations, and legal conclusions that it previously derided. While Embrace’s proposed

 defenses now contain a higher word count than the originally plead defense, Embrace’s

 proposed defenses have no facts in them that would answer the “who, what, where” questions

 showing how the defense applies in this case. Emblematic of the conclusory nature of its

 defenses, Embrace pleads only generic concepts and generalized background information.

 These defenses are so generic that with the exception of the word “Embrace,” these defenses

 could be copied and pasted into any mortgage fraud action and would apply to each defendant

 regardless of the actual factual circumstances of each case. This type of conclusory, boilerplate

 language fails to demonstrate what factual information Embrace is relying on in this case for


                                                 -15-
Case 1:22-cv-00453-JJM-PAS             Document 116 Filed 01/16/24                Page 22 of 26 PageID
                                             #: 1264



 each of the defenses.

        For example, as to the statute of limitations defense, Embrace simply alleges that it “has

 communicated with government representatives about its underwriting and origination

 practices, and discovery may show that ‘the official . . . charged with responsibility to act’ did

 know at some time . . .” ECF No. 114-1 at *1136 (emphasis added). But as the defense says

 nothing about what Embrace said to the DOJ, when it was said, or by whom, the defense is in

 fact nothing more than barebones recitation of the elements of a statute of limitations defense.

 Additionally, Embrace’s language that “discovery may show” demonstrates that it is not

 actually pleading any facts actually showing that a government official knew about Embrace’s

 misconduct. Removing that speculation from the defense as plead, as required under Schatz,

 there is only the bare conclusory statement that government knew, without any further factual

 allegations.4

        The second affirmative defense pleads in entirely conclusory terms that Embrace just

 acted in good faith. But Embrace fails to plead any facts to show how it acted in good faith

 (likely because it cannot do so). Instead of pleading actual actions that Embrace took to show

 how it acted in good faith (which theoretically could have included robust quality assurance

 processes or other steps that Embrace took to reduce instances of fraud), Embrace’s instead


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        As discussed above in Point I.B, the government’s knowledge of the fraud for statute of
        limitations purposes relates to the Attorney General (or his designees). Ironically, the affirmative
        defense plead here is substantially similar to the allegations that the Supreme Court analyzed in
        Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). In Iqbal, the Supreme Court found that the plaintiff’s
        allegations that the Attorney General “knew of, condoned, and willfully and maliciously agreed
        to” the conduct at issue was conclusory and therefore did not meet Rule 8. Id. at 680-81. Given
        that Embrace is making substantially the same allegations here regarding the Attorney Generals’
        knowledge, Embrace’s defense fails for the same reasons as in Iqbal. In fact, Embrace’s attempted
        defense is arguably worse because it does not even name the Attorney General, but rather just
        pleads unnamed “government representatives.” ECF No. 114-1 at *1135.



                                                   -16-
Case 1:22-cv-00453-JJM-PAS          Document 116 Filed 01/16/24           Page 23 of 26 PageID
                                          #: 1265



 focuses entirely on the regulatory schemes, actions, and conduct of HUD. These generalized

 principles that would apply to any FCA mortgage fraud action do not rise about the conclusory

 level.

          In regards to the third affirmative defense, Embrace’s defense is nothing more than

 conclusory and generic statements. Embrace indicates that this defense is based (in part) on

 HUD “making and continuing to make, payments on claims submitted for insurance proceeds

 for loans endorsed by Embrace ever after learning some or all of the facts[.]” ECF No. 114-1

 at *1136. However, Embrace’s answer is completely devoid of explaining what these “facts”

 are, let alone explaining how Embrace provided the government with notice of the fraud.

          As to the mitigation defense, Embrace alleges that Relator’s claims “may be barred, in

 whole or in part, by the failure of HUD or any third party to take reasonable steps to mitigate

 damages, if any . . .” ECF No. 114-1 at *1136 (emphasis added). In other words, Embrace

 does not actually know: (1) if any claims are actually barred by mitigation; or (2) if the

 government was even required to mitigate. Even aside from those speculative allegations,

 Embrace provides no factual support demonstrating how the government was required to

 mitigate its damages, what reasonable steps were not taken, and how the government “fail[ed]

 to address any alleged underwriting violations by Embrace.” Id.

          Finally, as to the fifth affirmative defense, this proposed defense is rife with

 impermissible hypotheticals and conclusory statements that merely deny liability and damages.

 See ECF No. 114-1 at *1137 (“even if accepted as true;” “to the extent that errors may have

 occurred;” “to the extent that any underwriting errors may have been made”). But applying the

 First Circuit’s test and removing those conclusory and speculative allegations, no factual

 allegations are actually plead. Schatz, 669 F.3d at 55.


                                               -17-
Case 1:22-cv-00453-JJM-PAS           Document 116 Filed 01/16/24             Page 24 of 26 PageID
                                           #: 1266



        Accordingly, because none of the proposed affirmative defenses meet the Rule 8

 pleading standard that this Court indicated applies in this case, Embrace’s motion to amend

 must fail.

 III.   ANY FURTHER REQUESTS FOR LEAVE TO REPLEAD SHOULD BE DENIED

        Presuming the Court now denies Embrace’s motion, the Court should make clear that

 no further leave to replead is permitted. Embrace previously had the opportunity to amend its

 answer when Relator filed her previous Motion to Strike raising the pleading deficiencies.

 Embrace chose not to do so, doubling down on its conclusory allegations and only requesting

 leave to amend in opposition to Relator’s motion. See ECF No. 104 at *1003. In similar

 circumstances, the First Circuit has held that it is not error for a court to fail to invite a party

 to replead when granting a dispositive motion. See Emerito Estrada Rivera-Isuzu de P.R., Inc. v.

 Consumers Union of United States, Inc., 233 F.3d 24 (1st Cir. 2000); see also Wayne Inv., Inc. v.

 Gulf Oil Corp., 739 F.2d 11, 15 (1st Cir.1984) (contingent request for leave to amend made in

 an opposition to motion is improper). Having made its bed and only seeking leave now,

 Embrace must lie in it and deal with the consequences. Therefore, in the very likely event that

 the Court denies Embrace’s motion, the Court should make clear that no further leave to

 replead is permitted given Embrace’s repeated failures to sufficiently allege its defenses.

                                          CONCLUSION

         For each of the foregoing reasons, Relator respectfully requests that the Court deny

 Embrace’s Motion for Leave to Amend.




                                                -18-
Case 1:22-cv-00453-JJM-PAS   Document 116 Filed 01/16/24            Page 25 of 26 PageID
                                   #: 1267



 Dated: January 16, 2023

                                    THOMAS & SOLOMON LLP


                                    By:____/s/ Jonathan W. Ferris

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                                     -19-
Case 1:22-cv-00453-JJM-PAS           Document 116 Filed 01/16/24           Page 26 of 26 PageID
                                           #: 1268



                                  CERTIFICATE OF SERVICE

        The undersigned hereby certifies that, on the indicated date, the undersigned filed and

 served the foregoing document, using the Court’s CM/ECF system, which will automatically

 send email notification of such filing to all attorneys of record.



 Dated: January 16, 2024

                                                       s/ Jonathan W. Ferris
                                                        Jonathan W. Ferris




                                                -20-
